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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA

                                                 )
J.W., by and through her parent and              )     Case No. 12-CV-1369 (DWF/JSM)
legal guardian, Latasha Tolbert, and             )
individually M.D., by and through her            )
grandparent and guardian, Vanessa                )
Boyd, and individually, A.I., by and             )
through her parents and guardians,               )
Catrice Ingram and Miguel Jones,                 )
and individually,                                )
                                                 )
                               Plaintiffs,       )     STIPULATION OF DISMISSAL
                                                 )
v.                                               )
                                                 )
Saint Paul Public Schools Independent            )
School District No. 625, Saint Paul              )
Public Schools Board of Education,               )
Jayne Ropella, individually, and in her          )
representative capacity as Principal, and        )
Timothy M. Olmsted, individually and in          )
his representative capacity as a teacher,        )
                                                 )
                               Defendants.       )

           It is hereby stipulated and agreed by the above-named parties, through their

respective counsel, that:

           1.    Plaintiffs’ claims under the Minnesota Human Rights Act (Minn. Stat. ch.

363A), Count One of Plaintiffs’ Amended Complaint, are dismissed with prejudice as to

Defendant Timothy M. Olmsted, with each party to bear their own costs and attorneys’

fees on this claim;

           2.    Plaintiffs’ state law punitive damage claims are dismissed without

prejudice as to all Defendants, consistent with Minn. Stat. § 549.191;



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         3.    Plaintiffs’ punitive damage claims under Section 1983 against Saint Paul

Public Schools Independent School District No. 625 and Saint Paul Public Schools Board

of Education are dismissed with prejudice; and

         4.    Plaintiffs’ official capacity claims against Jayne Ropella are dismissed with

prejudice.

         The parties respectfully request that the Court enter the accompanying proposed

order.

Dated: October 30, 2102           THE LAW FIRM OF STEPHEN L. SMITH, PLLC


                                  BY:     s/Stephen L. Smith
                                         Stephen L. Smith (#190445)
                                         700 Lumbar Exchange Building
                                         10 South Fifth Street
                                         Minneapolis, MN 55402-4218
                                         (612) 305-4355
                                         smith@trial-advocate.com

                                         THE LAW FIRM OF SELLANO L. SIMMONS,
                                         PLLC
                                         Sellano L. Simmons, #0387026
                                         700 Lumber Exchange Building
                                         10 South Fifth Street
                                         Minneapolis, MN 55402-4218
                                         ( 612) 305-4354
                                         slsimmons@slsimmonslaw.com

                                         Attorneys for Plaintiffs




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Dated: October 31, 2012      GREENE ESPEL PLLP


                             BY:    s/Sybil L. Dunlop
                                   Jeanette M. Bazis, Reg. No. 255646
                                   Bethany D. Krueger, Reg. No. 306368
                                   Sybil L. Dunlop, Reg. No. 0390186
                                   222 South Ninth Street, Suite 2200
                                   Minneapolis, MN 55402
                                   (612) 373-0830
                                   jbazis@greeneespel.com
                                   bkrueger@greeneespel.com
                                   sdunlop@greeneespel.com

                                   Attorneys for Defendants Saint Paul Public
                                   Schools Independent School District No. 625,
                                   Saint Paul Public Schools Board of Education,
                                   and Jayne Ropella


Dated: October 29, 2012      FELHABER LARSON FENLON &VOGT, PA


                             BY:    s/David L. Hashmall
                                   David L. Hashmall (#138162)
                                   Matthew D. Schwandt (#390499)
                                   220 S 6th Street, Suite 2200
                                   Minneapolis, MN 55402-4504
                                   ( 612) 373-8518
                                   dhashmall@felhaber.com
                                   mschwandt@felhaber.com

                                   Attorneys for Timothy M. Olmsted




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